1. The evidence adduced upon the trial amply authorized the jury to find the defendant guilty of the crime of murder.
2. There was sufficient proof of venue.
                        No. 16226. JULY 15, 1948.
Red Lamar Nunn was indicted and tried for the crime of murder, the indictment charging him with murdering Plumer *Page 74 
Nunn, his wife, with a shotgun. The jury returned a verdict of guilty without a recommendation.
The evidence for the State showed that on July 3, 1947, the defendant, the deceased, and a number of other persons gathered at the home of John Cordie in Jefferson County, Georgia, to prepare a barbecue; that the defendant, the deceased, and their child arrived at Cordie's home on the night of July 3 and remained there until about ten or eleven o'clock, when the defendant, the deceased, and several other persons left; that about dawn of July 4 the defendant returned alone to Cordie's home in his automobile, got out of the automobile, and inquired of several persons standing around a log fire at the barbecue pit if they had seen his wife; that the defendant stated he and his wife had had a fuss and she had dodged him; that while the defendant was inquiring about his wife, she walked from around the corner of the house and the defendant told her to come with him and get into the car; that the defendant and the deceased started toward the car, with the defendant in front of the deceased, and just before they reached the car, the defendant dashed to the car, reached inside the car, got a shotgun, turned and told his wife to get into the car, and then shot her; that the deceased, when the shot was fired, "hollered, `Oh, Lord,'" and fell; that none of the persons standing around the barbecue pit made any effort to go to the deceased, but the defendant went to her, dragged her to the car, and placed her in the car; that the defendant then called to his child, told her to get into the car, and after the child was in the car, the defendant drove off with the deceased and the child in the car. Officers, on being notified of the incident, went to the home of the defendant, where they found blood stains and searched for the deceased, but failed to look into one small room in the defendant's home. The defendant told the officers that he had taken his wife to a doctor in Soperton, Georgia. The defendant was arrested and placed in jail. The officers then made an investigation at Soperton, but failed to find any trace of the deceased. On Sunday, July 6, the officers told the defendant they intended to make a further investigation in Soperton, and the defendant then told them his wife was dead in the side room of his house. The officers returned to the defendant's home, and on making an inspection of a small room previously overlooked *Page 75 
by them, they found the body of the deceased wrapped in crocus sacks. A physician, who examined the body, testified that he found a large gunshot wound in the right thigh, involving the femoral artery, and the severance of that artery would cause a person to bleed to death; that actually the deceased would not have lived over thirty minutes after receiving the wound; that from an examination of the wound and the condition of the body, it was his opinion that hemorrhage produced the death of the deceased, and the hemorrhage was brought about by the gunshot wound. His examination did not disclose any other injuries.
A number of witnesses, who were present and saw the shooting, testified substantially to the facts above related. These witnesses testified that the defendant shot the deceased after getting a gun out of his car, and while the deceased was doing nothing.
The defendant's motion for new trial as amended was overruled, and the exception is to this judgment.
1. In the brief of counsel for the plaintiff in error it is stated: "The case raises only two questions: (1) Does the evidence support the verdict; and (2) Was the venue of the crime proven? As to the first question propounded, without injecting the question of venue, counsel frankly says that the facts and circumstances adduced on the trial of the case leads to the guilt of the plaintiff in error." The evidence was entirely sufficient to authorize the jury to find the accused guilty of the crime of murder.
2. It is argued that the evidence fails to affirmatively show that the killing occurred in Jefferson County, Georgia. This argument is based upon the theory that, although the evidence disclosed that the home of John Cordie, where the shooting occurred, is located in Jefferson County, Georgia, the shooting occurred "some distance away from this home." It is further contended that, even conceding that the shot testified about occurred in Jefferson County, Georgia, no witness testified that "this shot even struck the deceased;" and that, therefore, she might have been shot, after she was carried away in a car by the defendant, at some other place. We can not agree with the plaintiff in error as to either of these contentions. *Page 76 
The evidence is undisputed that the home of John Cordie is located in Jefferson County, Georgia. Several witnesses testified that the defendant stopped his automobile "in the yard" of the home of John Cordie. It further appeared that "just a little before she got to the car, he [the defendant] dashed ahead of her and reached in there to the car and got the gun and he says come on and get in that car and that time he shot her." Another witness testified: "When that shot was fired she never done nothing but hollered and just said, `Oh, Lord,' and fell. . . He drug her and put her in the car." It was shown by another witness: "That place where I saw her lying on the ground and where he put her in the car was in Jefferson County, Georgia." We think this evidence shows positively that the shooting did occur in Jefferson County, Georgia.
As to the contention that the evidence failed to show that the shot testified about actually struck the deceased, the evidence above quoted shows that when the shot was fired she "hollered," fell to the ground, and the defendant dragged her to a car and placed her therein. A physician testified that he examined the body of the deceased and found what appeared to be a gunshot wound sufficient to produce death, and that "there were no other wounds on the body except that gunshot wound that I recall; now I don't remember any other that I was able to detect." We think this evidence amply authorized the jury to find that the gunshot wound was inflicted in Jefferson County, Georgia, and that this wound produced death. True it is, there was no evidence showing where, or exactly when, the deceased died, but this makes no difference. "When any mortal wound shall be given, or any poison shall be administered, or any other means shall be employed in one county, by which a human being shall be killed, who shall die thereof in another county, the indictment shall be found and the offender shall be tried in the county where the act was performed or done from which the death ensued." Code, § 27-1104. SeeRoach v. State, 34 Ga. 78; Aiken v. State, 170 Ga. 895
(3) (154 S.E. 368); Womble v. State, 107 Ga. 666 (3) (33 S.E. 630).
Judgment affirmed. All the Justices concur, except Bell, J.,absent on account of illness. *Page 77 